          Case 2:18-cv-02684-EJM Document 174 Filed 07/30/20 Page 1 of 5



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     MARICOPA COUNTY ATTORNEY
2

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13   Attorneys for Defendants Maricopa County and
     Maricopa County Attorney Allister Adel
14

15
                        IN THE UNITED STATES DISTRICT COURT
16                             FOR THE DISTRICT OF ARIZONA
17
     Deshawn Briggs, et al.,                           CV-18-02684-PHX-EJM
18

19                    Plaintiffs,
     v.                                                NOTICE OF SETTLEMENT OF
20                                                     ALL CLAIMS AND ALL
                                                       REQUESTS FOR RELIEF
21   Allister Adel, in her official capacity as        ASSERTED AGAINST COUNTY
     County Attorney of Maricopa County, et al.,       DEFENDANTS,
22                                                     OTHER THAN REQUEST FOR
                      Defendants.                      ATTORNEYS’ FEES AND COSTS
23                                                     ASSERTED AGAINST COUNTY
                                                       DEFENDANTS
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              Plaintiffs Deshawn Briggs, Lucia Soria and Antonio Pascale, as Personal
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     Representative of the Estate of Mark Pascale, (“Plaintiffs”) and Defendants Maricopa
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       Case 2:18-cv-02684-EJM Document 174 Filed 07/30/20 Page 2 of 5



1    County and Maricopa County Attorney Allister Adel (“County Defendants”) provide
2    notice that they have reached a settlement of all claims and all requests for relief asserted
3
     against County Defendants in the above-encaptioned case, other than Plaintiffs’ attorneys’
4
     fees/costs request asserted against County Defendants. Plaintiffs and County Defendants
5

6    will submit their stipulated motion for dismissal with prejudice of all claims/requests for
7    relief asserted against County Defendants, other than Plaintiffs’ attorneys’ fees/costs
8
     request, upon finalizing related settlement documentation.
9
            Plaintiffs and County Defendants also are negotiating a potential settlement of
10

11   Plaintiffs’ attorneys’ fees/costs request asserted against County Defendants. If Plaintiffs
12   and County Defendants reach a settlement of Plaintiffs’ attorneys’ fees/costs request
13
     asserted against County Defendants, they will submit a stipulated motion for dismissal of
14
     such request with prejudice. If Plaintiffs and County Defendants are unable to reach a
15

16   settlement of Plaintiffs’ attorneys’ fees/costs request asserted against County Defendants,
17   they will submit such request to the Court for determination.
18
            RESPECTFULLY SUBMITTED this 30th day of July 2020.
19
                                            ALLISTER ADEL
20
                                            MARICOPA COUNTY ATTORNEY
21
                                            BY: /s/Ann Thompson Uglietta
22                                              ANN THOMPSON UGLIETTA
23                                              JOSEPH J. BRANCO
                                                HOWARD LEVINE
24                                              Deputy County Attorneys
                                                Attorneys for Defendants Maricopa County
25
                                                and Maricopa County Attorney Allister Adel
26

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       Case 2:18-cv-02684-EJM Document 174 Filed 07/30/20 Page 3 of 5



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                                 CERTIFICATE OF SERVICE
17

18          I hereby certify that on July 30, 2020, I caused the foregoing document to be
     electronically transmitted to the Clerk’s Office using the CM/ECF System for filing and
19   transmittal of a Notice of Electronic Filing to the following CM/ECF registrants:
20
     Honorable Eric J. Markovich
21   United States District Court
     Evo A. DeConcini U.S. Courthouse
22
     405 West Congress Street, Suite 3160
23   Tucson, AZ 85701

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       Case 2:18-cv-02684-EJM Document 174 Filed 07/30/20 Page 4 of 5



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       Case 2:18-cv-02684-EJM Document 174 Filed 07/30/20 Page 5 of 5



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     /s/ S. Rojas
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